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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 24-cv-00183-CNS-NRN

  BRENDA GONZALEZ,
          Plaintiff,

  v.

  JPMORGAN CHASE BANK, N.A.,

         Defendant.


         JPMORGAN CHASE BANK, N.A.’S NOTICE OF NON-OPPOSITION TO
                PLAINTIFF’S MOTION FOR EXTENSION OF TIME

         Defendant JPMorgan Chase Bank, N.A. (“Chase”), by and through its undersigned

  counsel, hereby notifies the Court that Chase does not oppose Plaintiff’s Motion for

  Extension of Time [ECF No. 26], which seeks a one-week extension of time to respond

  to Chase’s First Written Discovery to Plaintiff.

         Plaintiff’s Motion misrepresents the Parties’ conferral efforts. Attached to this

  Notice as Exhibit A is email correspondence between counsel for the Parties on

  September 28, 2024, regarding this Motion. As reflected therein, immediately after

  Plaintiff’s counsel notified Chase about Plaintiff’s mother’s hospitalization and requested

  an extension, counsel for Chase responded, clearly stating that Chase does not object so

  long as Plaintiff’s motion reflected the reason for the extension, and such extension does

  not postpone Plaintiff’s deposition hopefully to occur between 9/16/24 and 9/27/24 (Chase
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  requested Plaintiff’s deposition availability for this period on August 14, 2024 but Plaintiff

  has not yet provided her availability):

          Dan – we have no objection to a one-week extension so long as you file a
          stipulation or unopposed motion informing the Court of Plaintiff’s reason for
          needing extension, and so long as this does not affect Plaintiff’s deposition
          availability within the timeframe of 9/16 and 9/27 (requested on
          8/14). These requirements are in part a result of the concerns you raised
          about delay at the last status conference and Judge Neureiter’s order
          regarding discovery extensions.

  Ex. A at 4. Plaintiff’s counsel replied, “I’ll just file the motion as opposed. Thanks.” Id. at

  3. In response, counsel for Chase reiterated Chase’s non-opposition:

          Dan – Chase does not oppose the Motion. Please indicate in your conferral
          section that “Chase does not oppose Plaintiffs’ request for a seven-day
          extension to respond to its written discovery requests due to her unexpected
          hospital visit for her mother.”

  Id. Thereafter, Plaintiff’s counsel accused Chase of “prevaricating” and ultimately

  decided, “I don’t think you get to dictate what goes into the certificate of conferral. I’ll draft

  it as I see fit.” Id. at 1–2.

          This Notice would be unnecessary if Plaintiff had simply filed a stipulation pursuant

  to D.C.COLO.LCivR 6.1(a) or stated that Chase does not oppose the Motion.

  Nevertheless, Plaintiff’s efforts to mischaracterize Chase (and its counsel) as non-

  accommodating warranted this filing.




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   DATED: August 28, 2024                   s/ John A. Wharton
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                                            Bank, N.A.




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                               CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of August, 2024, a true and correct copy of
  the foregoing Notice of Non-Opposition to Plaintiff’s Motion for Extension of Time
  was served by electronic mail on the following:

        Dan Vedra
        dan@vedralaw.com
        Vedra Law LLC
        1444 Blake Street
        Denver, Colorado 80202




                                                        s/ John A. Wharton
                                                           John A. Wharton
